Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 1 of 21




                        EXHIBIT A
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 2 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 3 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 4 of 21
                                                                                                                              Welcome to Independent Life
                               Case 2:22-cv-01527-DAD-AC                        Document 142-4               Filed 02/06/25     Page 5 of 21



Welcome to iStructure Annuity™, the first and only uncapped index-linked structured settlement annuity.                               PRODUCT HIGHLIGHTS
iStructure is designed to provide upside potential that exceeds a fixed payout annuity, while still providing
protection of your initial principal/premium. How so? iStructure offers uncapped growth of the periodic                •   Uncapped growth of payments
payment plan you select at settlement, while also providing guaranteed payments that at least protect your             •   Return of premium guaranteed (unless opted out)
initial premium in full (Note: Unless opted out. Please see total guaranteed payments in illustration to confirm       •   Guarantees rise with index growth
selection.).                                                                                                           •   No ongoing fees
                                                                                                                       •   Customized payouts
Annuity payments in the iStructure Annuity are linked to the Franklin BofA World Index. The index was                      o Lifetime
developed through the collaborative efforts of leading financial institutions Franklin Templeton and Bank of               o Certain Only
America. The Franklin BofA World Index is designed to capture long-term growth through the dynamic use of                  o Lump Sums
three asset classes: mid and large cap global equities, U.S. Treasury Futures, and cash. The index’s allocation or     •   Payments can begin immediately or deferred
exposure to these three asset classes is adjusted daily based upon pre-determined factors in the markets, with         •   Up to 40 years of indexing available
the primary goal of achieving consistent returns.                                                                      •   Tax-free for qualified cases
                                                                                                                       •   Tax-deferred for all others
The pages that follow in this illustration will show you the power of iStructure and the projected payments and
returns over the life of the designed payment plan.

How do your payments grow?

Each future payment in your plan has a defined starting amount at inception. These starting amounts can be
found on the page titled “iStructure Annuity Payment Starting Points” and can be equal, increasing, or                        COMPANY HIGHLIGHTS (as of June 30, 2022)
decreasing from one year to the next. No payments can be accelerated or deferred once in place.
                                                                                                                       •   “A” rated by Egan-Jones Ratings Company
     1)        On each anniversary of your starting index date, the index value will be compared to the                •   Reinsurance treaty with company “A+” rated by AM Best
               previous year’s index value to determine how the index performed.                                       •   Top-tier capital and surplus ratios in structured
     2)        If there was positive growth, the future payments will grow following the methodology                       settlement market
               described in detail in the contract.                                                                    •   Published payee protection policy
                                                                                                                       •   Highly experienced sales support team
     3)        If there was no growth or negative growth in the index value for the year, each
                                                                                                                       •   Please visit www.independent.life to learn more
               individual payment amount will remain unchanged from its amount entering that year,
               except perhaps the payment sets starting within the immediately forthcoming year
               following the methodology described in detail in the contract.
     4)        This analysis repeats each year until all required payments are made.


PLEASE NOTE: if your starting amounts at inception are designed to decrease over time (an allocation strategy                                DISCLOSURES
known as “Balanced Growth”), there is a possibility over the life of your contract that a payment amount may
be less than a previous payment amount you received. This decrease does not represent a loss to you, but               •   Please read this illustration in full.
instead is a function of the decreasing starting amounts. This payment design is intended to provide moderate          •   You are not investing directly in the Franklin BofA World
growth in payments over time, but since the future performance of the index is unknown, there may be times                 Index.
where the payout in a year is less than it was in the prior year. Electing Cash Flow Stabilization will reduce or      •   To learn more about the index, visit www.independent.life
may eliminate the risk of this phenomenon. If you cannot tolerate these occurrences, you may want to
consider a “High Growth” allocation strategy that will provide lower projected payment amounts early in your
contract and much higher but never decreasing projected payments later in your contract.


                                     This quote IS00006370-0001 is not complete unless all pages are included 2 of 11
                                                                                                                  iStructure Annuity Quote Details
                                Case 2:22-cv-01527-DAD-AC                    Document 142-4          Filed 02/06/25       Page 6 of 21




             Quote Date: 01/17/2025                                            Index: Franklin BofA World Index            Measuring Life:       Long
          Purchase Date: 03/17/2025                             Participation Rate: 141.00%                                        Gender: Female
        Index Start Date: 03/27/2025                           Allocation Strategy: Balanced Growth                                  DOB: 11/05/2012



Benefit Description                                                                                    Total          Historical     Historical 25th    Historical
                                                                                              Cost
                                                                                                     Guaranteed        Lowest          Percentile        Median

INDEXED BENEFITS

Period Certain Annuity – an annual payment amount to be calculated
based on the performance of the index and the participation rate,
                                                                                      $ 65,000.00      $ 65,000       $ 92,061         $ 105,550        $ 109,387
guaranteed for 5 years beginning on 01/15/2031, with the last
guaranteed payment on 01/15/2035

Total                                                                                 $ 65,000.00      $ 65,000       $ 92,061         $ 105,550        $ 109,387

Internal Rate of Return                                                                                                4.54%             6.33%           6.78%




Prepared By: Bryce Maxwell               Case Type: Non-Qualified
Quote ID No.: IS00006370-0001            This proposal will expire on 01/24/2025 or
                                         the last date of IS20250115, whichever is earlier.




                                   This quote IS00006370-0001 is not complete unless all pages are included 3 of 11
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 7 of 21
                                                                                                    iStructure Illustrative Annuity Scenario Comparison
                                      Case 2:22-cv-01527-DAD-AC                          Document 142-4               Filed 02/06/25            Page 8 of 21




                                    Starting Payment                                                 0% Index              Historical        Historical 25th         Historical      Fixed Rate
         Year *           Age +                                Frequency        Duration                                                                                        vs.
                                           Date                                                       Growth                Lowest             Percentile             Median          Structure
         2031               18         01/15/2031              annually           1 year            $ 11,807.08           $ 16,495.71         $ 19,102.99           $ 18,327.49     $ 17,825.51
         2032               19         01/15/2032              annually           1 year            $ 11,575.57           $ 18,780.05          $ 18,775.25          $ 20,097.58     $ 17,825.51
         2033               20         01/15/2033              annually           1 year            $ 11,348.59           $ 19,304.42          $ 21,056.30          $ 22,149.80     $ 17,825.51
         2034               21         01/15/2034              annually           1 year            $ 11,126.07           $ 18,925.91          $ 22,907.44          $ 22,995.44     $ 17,825.51
         2035               22         01/15/2035              annually           1 year            $ 19,142.69           $ 18,554.81          $ 23,707.73          $ 25,817.09     $ 17,825.51
 Total                                                                                                  $ 65,000 **          $ 92,061            $ 105,550              $ 109,387     $ 89,128

* Fiscal Year: Ends on the day before the First Payment Update Date or its anniversary
+ Age is the age last birthday at the end of the fiscal year
** This is the amount payable under the Minimum Indexed Benefit Payout provision of the annuity contract and all illustrated life contingent payments (if applicable)

Fixed Rate Structure subject to home office approval




                                             This quote IS00006370-0001 is not complete unless all pages are included 5 of 11
                                                                                                             Franklin BofA World Index Back-Tested Data
                                  Case 2:22-cv-01527-DAD-AC                          Document 142-4              Filed 02/06/25            Page 9 of 21




                                            Lowest Scenario                          25th Percentile Scenario                      Median Scenario
                                        05/12/2014 - 05/10/2024                      11/27/2012 - 11/25/2022                   07/22/2011 - 07/22/2021
                        Year          Index Growth %         Policy Credit %      Index Growth %       Policy Credit %      Index Growth %         Policy Credit %
                          1                 4.30%                 6.06%                10.74%               15.15%                10.08%               14.21%
                          2                 -0.16%                0.00%                 7.00%                9.87%                8.44%                11.89%
                          3                 8.03%                11.33%                 0.26%                0.36%                11.14%               15.70%
                          4                10.92%                15.39%                 1.74%                2.45%                1.67%                 2.36%
                          5                 1.80%                 2.54%                17.29%               24.37%                1.82%                 2.56%
                          6                11.44%                16.13%                 0.18%                0.25%                8.41%                11.85%
                          7                 3.44%                 4.85%                10.21%               14.39%                8.81%                12.42%
                          8                 -4.41%                0.00%                 7.78%               10.97%                4.18%                 5.89%
                          9                 -1.96%                0.00%                 3.95%                5.56%                10.29%               14.52%
                         10                 0.56%                 0.79%                -10.39%               0.00%                4.62%                 6.51%
                   Compound                 3.27%                 5.54%                 4.62%                8.07%                6.89%                 9.69%
                 Annual Growth
                  Rate (CAGR)


•   Compound Annual Growth Rate (CAGR) for the Index Growth % is the constant annual growth rate that grows to the same level as the varying index growth rate over the
    10-year period being measured.

•   Compound Annual Growth Rate (CAGR) for the Policy Credit % is the constant annual growth rate that grows to the same level as the varying policy growth rate over the
    10-year period being measured where the policy growth rate is the index growth rate times the participation rate of 141.00% and not less than 0.00%

•   Lowest Scenario represents the worst historical hypothetical index performance

•   25th Percentile Scenario represents 25th Percentile historical hypothetical index performance

•   Median Scenario represents 50th percentile historical hypothetical index performance




                                        This quote IS00006370-0001 is not complete unless all pages are included 6 of 11
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 10 of 21
                                                                                                    iStructure Annuity Payment Starting Points
                                 Case 2:22-cv-01527-DAD-AC              Document 142-4              Filed 02/06/25      Page 11 of 21




                                                       Indexed          Payment                                                           Certain Only
        Benefit Number           Payment Amount                                            Duration        Starting Date    Ending Date
                                                      (Yes/No)         Frequency                                                           (Yes/No)
                1                  $ 11,807.08          Yes             annually            1 Year         01/15/2031       01/15/2031        Yes
                2                  $ 11,575.57          Yes             annually            1 Year         01/15/2032       01/15/2032        Yes
                3                  $ 11,348.59          Yes             annually            1 Year         01/15/2033       01/15/2033        Yes
                4                  $ 11,126.07          Yes             annually            1 Year         01/15/2034       01/15/2034        Yes
                5                  $ 10,907.91          Yes             annually            1 Year         01/15/2035       01/15/2035       Yes**
       ** Last Certain Payment

                                                                                   Specifications
                                                              First Payment Update Date: 03/27/2026
                                                                                   Index: Franklin BofA World Index
                                                       Minimum Indexed Benefit Payout: $ 65,000
                                                                       Participation Rate: 141.00%
                                                              Total Guaranteed Payments: $ 65,000




Quote ID No.: IS00006370-0001
                                      This quote IS00006370-0001 is not complete unless all pages are included 8 of 11
                                                                                                                                                                 Illustration Disclosures
                                       Case 2:22-cv-01527-DAD-AC                          Document 142-4                 Filed 02/06/25              Page 12 of 21



Fixed Indexed Payout Annuity - Hypothetical Illustration
The purpose of this hypothetical illustration is to demonstrate the effect of hypothetical non-guaranteed growth of this contract’s values. This material is not a recommendation to buy, sell, hold, or rollover
any asset, adopt a financial strategy or use a particular account type. Clients should work with their financial professional to discuss their specific situation. Please refer to the Statement of Understanding
for additional information.


Illustration Only
This is an illustration only and designed to help you better understand how the annuity contract you are considering works and how it might look in the future under various conditions. This illustration is
not intended to indicate actual performance nor predict future results. This illustration is hypothetical in nature, and you should expect actual payouts to be higher or lower than those shown in this
illustration. See the iStructure Indexed Annuity Statement of Understanding and other detailed documentation provided by Independent Life Insurance Company or your insurance or investment professional
for details, definitions, and limitations.

     •   Back-tested index performance is not indicative of future performance.
     •   Back-tested data covers a 10-year span within the date range of 07/10/2006 – 12/31/2024. This results in potential starting dates ranging from 07/10/2006 – 12/31/2014.
     •   Back-tested index performance is ranked based on the sum of expected payments.
     •   IRR listed on page 4 is the customer IRR based on the total consideration for the policy and the expected payments as illustrated in the scenario.
     •   Compound Annual Growth Rate (CAGR) is the constant annual growth rate that grows to the same level as the varying index growth rate over the 10-year period being measured.

Product Description
The Company, the Independent Life Insurance Company of Dallas, Texas, designed the iStructure Indexed Annuity as a custom payout fixed annuity providing payment growth potential linked to the
performance of an index. The index is the Franklin BofA World Index, https://www.franklinindices.com/franklin-bofa-world-index . The owner defines a series of future payments at specific future dates. The
Company sets the price and a Participation Rate, as shown in the contract. This annuity is a series of payment streams that each start at its own specific date in the future and, for streams described as
“Certain”, end at a specific date and for streams described as “Life Contingent” end when the specified person, the measuring life, is no longer alive, including never starting if that measuring life is no
longer alive on the start date. The Payment Update Date is a date defined in the annuity contract. The method of increase is described in the contract. The amount of the increase is not guaranteed and
could be zero. Once a payment has increased, it cannot decrease. Once a payment stream has made its first payment it is no longer eligible for increases from the index performance.

All guarantees and protections of the iStructure Indexed Annuity are backed by the claims-paying ability of Independent Life Insurance Company. This product is not FDIC or NCUSIF insured.

The iStructure Indexed Annuity is not a stock market investment and does not directly participate in any stock or equity or debt investments. The index does not include dividends paid on the stocks or
actual interest on the bonds that comprise the index, and therefore do not reflect the total return of these stocks and bonds.

General Tax Information
iStructure has been designed to allow individuals who settle claims using periodic payments that qualify for treatment under IRC Section 104(a)(1) or Section 104(a)(2) to exclude their periodic payments
(including any Indexed payments) from gross income. The iStructure can also be used to fund periodic payments to defer U.S. federal income taxation when neither the claim being settled, nor the agreed
periodic payments (including any Indexed payments), qualify for treatment under IRC 104(a)(1) or IRC 104(a)(2) provided all other related tax rules are met. The iStructure can also be used to fund periodic
payments as part of a IRC 453 installment sale provided all other related tax rules are met. For any of these case categories, the responsibility / liability to make future periodic payments to the
recipient/payee can be transferred to a third party (assignee) and maintain the tax status to the recipient. If the transfer is made to a United States taxpayer/assignee, the transfer must satisfy the
conditions of IRC 130 to be a “Qualified Assignment” and thereby avoid onerous tax results for that assignee. The iStructure has been designed to meet the requirements of a “Qualified Funding Asset” set
forth in IRC 130(d) including: the amount of any payment from the iStructure to the recipient/payee “does not exceed the periodic payment to which it relates.” In other words, the amounts paid from the
iStructure to the assignee will exactly match the amounts the assignee pays to the recipient/payee. In most cases, Independent Life Insurance Company will make the iStructure payments directly to the
recipient/payee as a service to the assignee. This servicing arrangement will have no effect on the tax status of either the recipient/payee or the assignee. If the transfer is to a non-US taxpayer / assignee,
the assignee must satisfy its local tax requirements, which typically do not require a specific relationship between the iStructure payments and the amount the assignee owes the recipient/payee.
Individuals considering an iStructure to fund future periodic payments are advised to seek tax advice from an attorney or financial advisor before agreeing to do so.

iStructure Annuity™, The iStructure Annuity™ and The iStructure Indexed Annuity™ are service marks of Independent Life Insurance Company. © 2021



                                              This quote IS00006370-0001 is not complete unless all pages are included 9 of 11
                                                                                           What is the Franklin BofA World Index?
                          Case 2:22-cv-01527-DAD-AC            Document 142-4         Filed 02/06/25       Page 13 of 21



Powered by the quantitative insights of Franklin Templeton and Bank of America, the Franklin BofA World Index is designed
to capture long-term growth by systematically allocating to companies around the world with the potential for high
profitability. Bringing together a factor-based screen created to identify higher-growth-potential stocks with a proprietary
intraday risk management strategy and a US Treasury allocation, the index’s primary goal is to achieve consistent returns.

INDEX DESIGN                                                                 INDEX BACK-TESTED HISTORICAL PERFORMANCE




For More Information: www.FranklinBofAWorldIndex.com

                               This quote IS00006370-0001 is not complete unless all pages are included 10 of 11
                                                                                                                                        Franklin BofA World Index Disclosures
                                           Case 2:22-cv-01527-DAD-AC                           Document 142-4                 Filed 02/06/25              Page 14 of 21



IMPORTANT INFORMATION It is not possible to invest directly in an index. There is no assurance that investment products based on the Index will accurately track index performance or provide positive
investment returns. Inclusion of a security within an index is not a recommendation by Franklin Templeton or BofA Securities, Inc. to buy, sell, or hold such security.

Any information, statement or opinion set forth herein is general in nature, is not directed to or based on the financial situation or needs of any particular investor, and does not constitute, and should not
be construed as, investment advice, forecast of future events, a guarantee of future results, or a recommendation with respect to any particular security or investment strategy or type of retirement
account. Individuals seeking financial advice regarding the appropriateness of investing in any securities or investment strategies should consult their financial professional.

The Franklin BofA World Index (the “Index”) has been created and is owned by BofA Securities, Inc. and its affiliates (collectively, “BofAS”) based in part on an index licensed to BofAS from Franklin
Templeton Companies, LLC (“Franklin”) (collectively with BofAS, the “Licensors”). Any product referencing the Index is not sponsored, operated, endorsed, sold or promoted by the Licensors. Licensors’
indices and related information, the name of the Licensors, and related trademarks, may not be copied, used, or distributed without their prior written approval. LICENSORS MAKE NO WARRANTIES AND
BEAR NO LIABILITY WITH RESPECT TO THE INDEX, ANY RELATED INFORMATION, THE TRADEMARKS, OR THE PRODUCT(S) (INCLUDING WITHOUT LIMITATION, THEIR QUALITY, ACCURACY, SUITABILITY
AND/OR COMPLETENESS).

There are risks relating to the Index discussed herein. Please request a copy of the applicable Index rulebook for risk disclosure.

Fixed indexed annuities are insurance contracts, not registered securities or stock market investments. Fixed indexed annuities are not invested in the Index itself, but rather value growth is based on the
performance of the Index and the rules prescribed in the insurer’s annuity contract. Fixed indexed annuities are not issued by Franklin or BofAS.

This information should not be relied upon as investment advice, research, or a recommendation by Franklin or BofAS regarding (i) any products tied to the Index, (ii) the use or suitability of the Index, or
(iii) any security in particular.

This material is strictly for illustrative and educational purposes and should not be construed as a recommendation to purchase or sell, or an offer to sell or a solicitation of an offer to buy any product or
security or to use any index. There is no guarantee that any strategies utilizing the Index will be effective or successful. Multi-asset indices and diversification do not promise any level of performance,
success, or guarantee against loss of principal.

WHAT ARE THE RISKS?
Stock prices fluctuate, sometimes rapidly and dramatically, due to factors affecting individual companies, particular industries or sectors, or general market conditions. Bond prices generally move in the
opposite direction of interest rates. Thus, as the prices of bonds in an investment portfolio adjust to a rise in interest rates, the performance of the Index may decline. During times of extreme market
volatility, the Index will not be able to eliminate investment losses or capture all investment gains.



                                             For More Information: https://www.franklinindices.com/franklin-bofa-world-index




                                                  This quote IS00006370-0001 is not complete unless all pages are included 11 of 11
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 15 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 16 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 17 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 18 of 21
Case 2:22-cv-01527-DAD-AC   Document 142-4   Filed 02/06/25   Page 19 of 21
                                 Case 2:22-cv-01527-DAD-AC                   Document 142-4               Filed 02/06/25          Page 20 of 21
Disclosures




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  positive investment returns. There is no guarantee that any strategies utilizing the Index will be effective or successful. Multi-asset indices and diversification do not
  promise any level of performance, success, or guarantee against loss of principal. This does not serve as an offer to sell or a solicitation of an offer to buy any product
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  any particular security or investment strategy or type of retirement account. Individuals seeking financial advice regarding the appropriateness of investing in any
  securities or investment strategies should consult their financial professional.
  Index Information
  The Franklin BofA World Index (the “Index”) has been created and is owned by BofA Securities, Inc. and its affiliates (collectively, “BofAS”) based in part on an index
  licensed to BofAS from Franklin Templeton Companies, LLC (“Franklin”) (collectively with BofAS, the “Licensors”). Any product referencing the Index is not
  sponsored, operated, endorsed, sold or promoted by the Licensors. Licensors’ indices and related information, the name of the Licensors, and related trademarks,
  may not be copied, used, or distributed without their prior written approval. LICENSORS MAKE NO WARRANTIES AND BEAR NO LIABILITY WITH RESPECT TO
  THE INDEX, ANY RELATED INFORMATION, THE TRADEMARKS, OR THE PRODUCT(S) (INCLUDING WITHOUT LIMITATION, THEIR QUALITY, ACCURACY,
  SUITABILITY AND/OR COMPLETENESS).
  "Volatility Control" Indices are designed to shift allocations, based on signals in the market, to help keep volatility at or near the stated target. When market volatility is
  relatively low the index will likely maintain exposure to riskier assets, such as equities. When volatility increases, the index is likely to reallocate so that it is weighted
  toward low-risk assets, such as cash.
  The Franklin BofA World Index is an excess return index. An excess return index deducts the value of cash daily, which is reflected in the index value. The Index uses
  the US Federal Funds Effective Rate as its basis for the daily cash value.
  There are risks relating to the Index discussed herein. Please request a copy of the applicable Index rulebook for additional information and disclosure.
  Index-linked annuities are insurance contracts issued by an insurance company. Index-linked annuities are not invested in the Index itself, but rather interest is
  credited based on the performance of the Index and the rules prescribed in the insurer’s Index crediting strategy. Index-linked annuities are not issued by Franklin or
  BofAS.
  Investment Risks
  Stock prices fluctuate, sometimes rapidly and dramatically, due to factors affecting individual companies, particular industries or sectors, or general market conditions.
  Bond prices generally move in the opposite direction of interest rates. Thus, as the prices of bonds adjust to a rise in interest rates, the performance of the Index may
  decline. International investments are subject to special risks, including currency fluctuations and social, economic and political uncertainties, which could increase
  volatility. During times of extreme market volatility, the Index will not be able to eliminate market losses or capture all market gains.


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                                 Case 2:22-cv-01527-DAD-AC                 Document 142-4              Filed 02/06/25          Page 21 of 21




  Organizations from Cover Page
  Insured Retirement Institute – The Insured Retirement Institute (IRI) is the leading association for the entire supply chain of insured retirement strategies, including
  life insurers, asset managers, broker-dealers, banks, marketing organizations, law firms, and solution providers. IRI members account for 90 percent of annuity assets
  in the U.S., include the foremost distributors of protected lifetime income solutions, and are represented by financial professionals serving millions of Americans. IRI
  champions retirement security for all through leadership in advocacy, awareness, research, and the advancement of digital solutions within a collaborative industry
  community.
  Alliance Lifetime Income – The Alliance for Lifetime Income is a non-profit 501(c)(6) educational organization based in Washington, D.C., that creates awareness
  and educates Americans about the value and importance of having protected lifetime income in retirement. Our vision is for a country where no American has to face
  the prospect of running out of money in retirement. The Alliance provides consumers and financial professionals with educational resources, interactive tools, and
  actionable research and insights to use in building retirement income strategies and plans. We believe annuities – one of only three sources of protected lifetime
  income – can be an important part of the solution for retirement security in America.

  All information herein contained is as of June 30, 2023, unless otherwise indicated.

  Important Legal Information
  This document is intended to be for general information only and does not constitute legal or tax advice. It is intended solely to illustrate the general approaches and
  capabilities of various investment teams. It does not constitute or form any part of any offer of any interests or shares of any product or an invitation to buy interests or
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